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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JONES LANG LASALLE BROKERAGE, INC.,
                                            Plaintiff,                      1:23-cv-10738-VSB
                              - against -                                   ANSWER TO
                                                                            COUNTERCLAIM
NITYO INFOTECH CORPORATION,
                                            Defendant.


        Plaintiff Jones Lang LaSalle Brokerage, Inc. (“JLL”), by its attorneys, Fried, Frank,

Harris, Shriver & Jacobson LLP, answers Defendant Nityo Infotech Corporation’s (“Nityo”)

counterclaim as follows, and asserts the following affirmative defenses to the counterclaim: 1

                 RESPONSE TO NITYO’S FIRST AFFIRMATIVE DEFENSE

         1.      JLL denies the allegations of paragraph 10 and specifically denies any negligence

or breach of contract on JLL’s part, and further denies any negligence or breach of contract on

JLL’s part that in any way caused or contributed to JLL’s alleged damages.

                RESPONSE TO NITYO’S SECOND AFFIRMATIVE DEFENSE

         2.      Paragraph 11 is a reservation of rights to which no response is required. To the

extent a response is required, JLL admits that Nityo purports to reserve a right to assert

unspecified affirmative defenses in a subsequent pleading or pleadings. JLL further reserves all

rights in connection with any later-asserted affirmative defenses, including that such later-

asserted affirmative defenses were waived.




1
 Capitalized terms not defined herein shall have the same meaning as set forth in JLL’s complaint, ECF No. 1 (the
“Complaint”).
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                    RESPONSE TO NITYO’S FIRST COUNTERCLAIM

          3.    Paragraph 12 repeats, reiterates and re-alleges each, every, and all allegations

contained in paragraphs one through eleven of the counterclaim. In response, JLL repeats,

reiterates and realleges each and every allegation in its Complaint, and each and every response

to paragraphs 10 and 11 of the counterclaim, with the same force and effect as if set forth fully

herein.

          4.    JLL admits the first sentence of paragraph 13. JLL denies all other allegations in

paragraph 13.

          5.    JLL denies the allegations in paragraph 14.

          6.    JLL denies the allegations in paragraph 15.

          7.    JLL denies the allegations in paragraph 16.

          8.    JLL denies the allegations in paragraph 17.

          9.    JLL denies the allegations in paragraph 18.

          10.   JLL denies the allegations in paragraph 19.

          11.   JLL admits that JLL procured a sublease agreement in June of 2023. JLL denies

all other allegations in paragraph 20.

          12.   JLL admits the first sentence of paragraph 21. JLL denies the second sentence of

paragraph 21. JLL denies knowledge or information sufficient to form a belief as to the truth of

the remaining allegations in paragraph 21.

          13.   JLL denies the allegations in paragraph 22.

          14.   JLL denies knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 23.




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        15.    JLL denies knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 24.

        16.    JLL denies knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 25.

        17.    JLL denies knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 26.

        18.    JLL denies the allegations in paragraph 27.

        19.    JLL denies the allegations in paragraph 28.

        20.    JLL denies the allegations in paragraph 29.

        21.    JLL denies the allegations in paragraph 30.

                                   AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE
                                  (Failure to State a Claim)

        22.    Nityo fails to state a claim upon which relief may be granted, including but not

limited to because Nityo has not stated a breach of any express or implied obligations in the

Services Agreement.

                            SECOND AFFIRMATIVE DEFENSE
                                  (No Breach by JLL)

        23.    Nityo’s counterclaim is barred, in whole or in part, because JLL did not breach

the Services Agreement and performed all of its obligations thereunder.




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                                THIRD AFFIRMATIVE DEFENSE
                                  (Waiver/Estoppel/Ratification)

        24.    Nityo’s counterclaim is barred, in whole or in part, by the doctrines of waiver,

estoppel and/or ratification because, in the Amendment, which was executed by JLL and Nityo

on or about July 26, 2023, Nityo explicitly ratified any actions taken by JLL.

                            FOURTH AFFIRMATIVE DEFENSE
                                    (No Causation)

        25.    Nityo’s counterclaim is barred, in whole or in part, because the damages alleged

by Nityo were not caused by JLL.

                                FIFTH AFFIRMATIVE DEFENSE
                                        (No Damages)

        26.    Nityo’s counterclaim is barred, in whole or in part, because the damages alleged

by Nityo are not recoverable pursuant to and/or are precluded by the terms of the Services

Agreement.

                              SIXTH AFFIRMATIVE DEFENSE
                          (Nityo’s Breach of the Services Agreement)

        27.    Nityo’s counterclaim is barred, in whole or in part, by Nityo’s breach of the

Services Agreement.

                           SEVENTH AFFIRMATIVE DEFENSE
                                 (Failure to Mitigate)

        28.    Nityo’s counterclaim is barred, in whole or in part, because Nityo failed to

mitigate its alleged damages.

                            EIGHTH AFFIRMATIVE DEFENSE
                                 (Reservation of Rights)

        29.    JLL reserves the right to amend and assert any additional defenses as may become

known during the course of discovery.


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                                   PRAYER FOR RELIEF

         WHEREFORE, JLL respectfully requests judgment:

         (a)   dismissing Nityo’s counterclaim with prejudice;

         (b)   granting JLL the relief sought in its Complaint; and

         (c)   granting JLL such other and further relief as the Court may deem just and proper.



Dated:     New York, New York
           March 8, 2024
                                                    FRIED, FRANK, HARRIS, SHRIVER
                                                     & JACOBSON LLP

                                                    By:               /s/ Emilie. B. Cooper
                                                                        Emilie B. Cooper

                                                    One New York Plaza
                                                    New York, New York 10004-1980
                                                    (212) 859-8000
                                                    emilie.cooper@friedfrank.com

                                                    Attorneys for Plaintiff
                                                     Jones Lang LaSalle Brokerage, Inc.




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